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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF IOWA



UNITED STATES OF AMERICA,
                                                  NO. 1:09-cr-00007-JEG-RAW
                 Plaintiff,

     vs.

BETTY JOANN STIVERSON,

                 Defendant.


REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                 (PLEA AGREEMENT)


                 The United States of America and the defendant, having

both filed a written consent to conduct of the plea proceedings by

a magistrate judge, appeared before me pursuant to Fed. R.                        Crim.

P.   11 and LCrR 11.                 The defendant entered a plea of guilty to

Count      1    of    a    Second Superseding         Indictment   charging her with

conspiracy to manufacture 50 grams or more of methamphetamine, in

violation of 21 U.S.C.               ss 846, 841(a) (1), and 841(b) (1) (A).      After

advising and questioning the defendant under oath concerning each

of the subjects addressed in Rule II(b) (1), I determined that the

guilty         plea       was   in   its   entirety    voluntarily,     knowingly      and

intelligently made and did not                  result     from    force,   threats,    or

promises        (other than promises in the plea agreement) .                 I further

determined that there is a factual basis for the guilty plea on

each of the essential elements of the offense(s)                       in question.     A

plea agreement was disclosed at the plea proceeding and defendant
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stated she understood its terms and agreed to be bound by them.                           To

the   extent   the       plea   agreement       is   of    the    type    specified       in

Rule 11(c) (1) (A) or (C) defendant was advised the district judge to

whom the case is assigned may accept the plea agreement, reject it,

or defer a decision whether to accept or reject it until the judge

has     reviewed         the    presentence          report       as      provided        by

Rule 11(c) (3) (A).       To the extent the plea agreement is of the type

specified in Rule 11(c) (1) (B) defendant was advised by the Court

that defendant has no right to withdraw the plea if the Court does

not follow a recommendation or request in question.

            I recommend that the plea of guilty be accepted and that

the   defendant      be    adjudged   guilty         and   have    sentence        imposed

accordingly.         A    presentence    report        has    been       ordered    and    a

sentencing status conference scheduled.




                                                              MAGISTRATE JUDGE



                                        DATE I



                                      NOTICE

             Failure by a party to file written objections to this
Report and Recommendation within ten (10) days from the date of its
service will result in waiver by that party of the right to make
objections     to the Report and Recommendation.           28   U.S.C.
§ 636 (b) (1) (B).  The Report and Recommendation was served this date
by delivery of a copy thereof to counsel for the government and
defendant in open court.

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